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              Exhibit 7
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from: Draft2Digital Support <support@draft2digital.com> via freshdesk.com
reply-to:Draft2Digital Support <support@draft2digital.com>
to:
date: Wed, May 16, 2018 at 3:46 PM
subject: Re: [#115909] DMCA Take Down Notice sent on Title: Crave To Claim (Myth of Omega, #3)

Hello,

Thank you for your swift and thorough response. By law, we are required to remove content upon
receiving a DMCA Take Down Notice, and then investigate to ensure claims are legal and accurate.

Based upon my own research and side-by-side comparison of the Zoey Ellis books to
the Addison Cain books, we could not substantiate Ms. Cain's claims of copyright infringement. We will
reinstate Ms Ellis books through our service, and forward your Counter DMCA to the Barnes and Noble
legal team to request the same from them.
